Case 1:16-cv-00187-LPS Document 328 Filed 06/01/18 Page 1 of 2 PageID #: 11559




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

PLASTIC OMNIUM ADVANCED                            )
INNOVATION AND RESEARCH,                           )
                                                   )
             Plaintiff,                            )
                                                   )    C.A. No. 16-187-LPS
             v.                                    )
                                                   )
DONGHEE AMERICA, INC. and                          )
DONGHEE ALABAMA, LLC,                              )
                                                   )
             Defendants.                           )


             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff Plastic Omnium Advanced Innovation and Research (“Plastic Omnium”) and

Defendants Donghee America, Inc. and Donghee Alabama, LLC (collectively, “Donghee”)

hereby stipulate and agree, subject to the approval of the Court that:

       1.         Plastic Omnium, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), hereby dismisses

without prejudice Count Seven of its Amended Complaint (D.I. 14), alleging infringement of

United States Patent No. 9,399,326 (the “’326 Patent”).

       2.         Any subsequent case asserting infringement of the ’326 Patent by Plastic Omnium

against Donghee Alabama, Inc. and/or Donghee America, LLC must be filed in the United States

District Court for the District of Delaware. The parties further agree that they can use in the

refiled case the fact discovery already taken in this case as of the time of this dismissal and no

new fact discovery shall occur, except that fact discovery may be updated as applicable in light

of judicial rulings, changes in circumstances and/or the passage of time.

       3.         Each party shall bear its own costs to date related to the ’326 Patent.

       4.         The parties will provide a proposed final judgment to the Court on or before June

7, 2018.
Case 1:16-cv-00187-LPS Document 328 Filed 06/01/18 Page 2 of 2 PageID #: 11560




BARNES & THORNBURG LLP                       POTTER ANDERSON & CORROON LLP


By: /s/ Regina S.E. Murphy                   By: /s/ Philip A. Rovner__________________
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Attorneys for Plaintiff Plastic Omnium       Attorneys for Defendants Donghee America, Inc.
Advanced Innovation and Research             and Donghee Alabama, LLC


Dated: June 1, 2018




                      SO ORDERED this                 day of                   , 2018.




                                         The Honorable Leonard P. Stark
                                         Chief, United States District Judge




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